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                  IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION



UNITED STATES OF AMERICA                                                     PLAINTIFF


V.                             NO. 4:05CR00026-001 SWW


PAUL HAROLD HARPOLE                                                          DEFENDANT



                                            ORDER

       This matter is before the Court on defendant’s motion for early termination of supervised

release. The government has no objection to early termination of defendant’s supervised release.

The U.S. Probation Office has advised the Court that the defendant has met program goals and

objectives for supervision and recommends early termination of supervision. The Court finds that

defendant’s motion [doc #115] should be, and hereby is, granted.

       IT IS THEREFORE ORDERED that defendant’s remaining term of supervised release

previously imposed be, and it is hereby, terminated.

       Dated this 17th day of June 2014.

                                                       /s/Susan Webber Wright

                                                       United States District Judge
